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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC,

Plaintiff,

v.
                                                Case No.: 1:19-CV-05523-SDG
SIONIC MOBILE CORPORATION
and RONALD D. HERMAN

Defendants.


             PLAINTIFF’S RESPONSE IN OPPOSITION TO
     SIONIC MOBILE CORPORATION’S MOTION TO STRIKE OR IN
         THE ALTERNATIVE FOR LEAVE TO FILE SURREPLY

      COMES NOW Berkeley Ventures II, LLC, Plaintiff in the above captioned

matter, and, in accordance with Local Rule 7.1, files this Response in Opposition to

Sionic Mobile Corporation’s Motion to Strike Plaintiffs’ Reply Memorandum in

Support of its Motion to Add Non-Party Patrick Gahan as a Party Defendant, or in

the alternative, for Leave to File a Surreply (Doc. 153).

                            PRELIMINARY STATEMENT

      Sionic claims that Plaintiff’s Reply introduced 21 new exhibits and reems of

new argument and grounds for joining Gahan to this action (See Doc. 153 at. 6). It

also posits that nothing Berkeley articulated in its Reply Memo is ‘new.’ (See Doc.
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153 at. 11). Judicial estoppel forbids use of intentional self-contradiction as a means

of obtaining unfair advantage. See Scarano v. Central R. Co. of New Jersey, 203

F.2d 510, 513 (3d Cir.1953). Sionic argues both that Plaintiff’s evidence in the

Reply Memo is not new, allegedly showing that Plaintiff failed to satisfy the Rule

16(b)(4) good cause standard necessary to amend its complaint after the deadline

designated in a scheduling order based on newly discovered evidence, and that

Plaintiff’s evidence is new, purportedly entitling Sionic to strike newly introduced

exhibits and arguments in the Reply Memo, claiming undue surprise.

      These troubling contradictions smack of gamesmanship that have no place in

the judicial system. See Cash v. State Farm Fire & Cas. Co., 125 F.Supp.2d 474,

476–77 (M.D.Ala.2000)(courts should not reward legal gamesmanship). For the

reasons explained herein, Plaintiff respectfully opposes Sionic Mobile Corporation’s

Motion to Strike New Arguments, or in the Alternative, for Leave to File a Surreply

to the Plaintiff’s Reply.

                            PROCEDURAL BACKGROUND

      On June 18, 2021 Plaintiff filed its Motion to Add Patrick Gahan as Party

Defendant (“Motion to Add”) on the grounds that, inter alia, Gahan was an active

member in this securities fraud, not only as a promoter, but also as a member of the

Sionic Board (See Doc. 136-1 at 7)

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      On July 2, 2021 Sionic filed its Opposition to the Plaintiff’s Motion to Add

(the “Opposition”). (See Doc. 143). In particular, Sionic argued that Plaintiff has

failed satisfy its obligations as movant “whether presented under Rule 15, 19, 20

“and/or” 21” (See Doc. 143 at 17). On July 16, 2021 Plaintiff filed its Reply

Memorandum in Further Support of the Motion to Add (the “Reply”). (See Doc.

145). Sionic now seeks to strike or file a surreply responding to certain arguments

in the Reply which they claim are being raised for the first time in the Plaintiff’s

Reply. (Id. at 1) As explained herein, these arguments are not “new” as they were

raised in Defendant’s Opposition and/or the Plaintiff’s initial moving papers.

                  ARGUMENT AND CITATION OF AUTHORITY

      I. Standard for Denying Request To Strike or File A Surreply Brief.

      Motions to strike are generally disfavored, being considered “a drastic remedy

to be resorted to only when required for the purposes of justice.” See Landberg v.

Universal Trailer Corp. Horse/Livestock Group, 2008 WL 5586402 * 2 (N.D. Ga.).

Moreover, the Federal Rules of Civil Procedure do not allow parties to file

surreplies. See Fedrick v. Mercedes-Benz USA, LLC, 366 F. Supp. 2d 1190, 1303

(N.D. Ga. 2005) (denying request to file surreply). “To allow surreplies as a regular

practice would put the court in the position of refereeing an endless volley of briefs.”

See Garrison v. N.E. Ga. Med. Ctr., Inc., 66 F. Supp. 2d 1336, 1340 (N.D. Ga. 1999)

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(denying request to file surreply). Such filings “typically will be permitted only in

unusual circumstances, such as where a movant raises new arguments or facts in a

reply brief”. See Schutz Container Sys., Inc. v. Mauser Corp., No. 09-cv-3609, 2012

WL 1073153, at *1 (N.D. Ga. Mar. 28, 2012) (denying request to file surreply)

(citing Fedrick, 366 F. Supp. 2d at 1197).

      Importantly, Eleventh Circuit precedent provides that arguments in a reply

brief are not deemed “new” where, as here, they (1) respond to arguments raised in

the non-moving party’s response (e.g., Chemence Med. Prods., Inc. v. Medline

Indus., Inc., 119 F. Supp. 3d 1376, 1382 (N.D. Ga. 2015)); or (2) were “reasonably

presented” in the party’s initial brief (E.G. v. Companion Benefit Alternatives, Inc.,

No. 18-0265-WS-MU, 2018 WL 4623653, at *1 (S.D. Ala. Sept. 26, 2018)). The

basis for Defendant’s application for the Court to strike the Plaintiff’s Reply or grant

Defendant’s leave to file a surreply fail because the arguments with which Defendant

take issue were both raised in Defendant’s Opposition and/or the Plaintiff’s moving

papers.

      II. Plaintiff Did Not Raise New Arguments In Its Reply Brief.

      Defendant’s Opposition unequivocally opened the door to the Plaintiff’s

arguments in its Reply. Defendant asserts that Plaintiff is ”attempting for the first

time [in its Reply Brief] to articulate a duty owed by Gahan” (See Doc. 153 at. 12-

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13). Plaintiff merely replied to the assertion in the Defendant’s Opposition stating

that “Berkeley has not alleged any separate duty or obligation owed to it by Gahan

that would render anything he did before the investment actionable as against him”.

(Doc. 143, at 14). Sionic alleges that Plaintiff introduced “scienter for the first time

on reply. . . [and never] discussed how Gahan allegedly used Berkeley to “bridge

Sionic’s funding gap,” or how his alleged omission to disclose this “gap” or other

purported information before Berkeley’s investment constituted a material and

actionable misrepresentation imputable to Sionic. (See Doc. 153 at. 12-13) Plaintiff

elaborated on that point as a reply to Defendant’s Opposition statement inferring that

it had “fail[ed] to satisfy Rules 8 and 9(b) and the particularity requirements of the

PLSRA.” (Doc. 143, at 2).    1
                                 Further, Defendant complains that “Berkeley tries to

portray parts I, II, III, and the remainder of IV to its Reply Memo as merely

responsive to Sionic’s explication in its Opposition Brief of Berkeley’s various

failures to satisfy Rules 15, 16, 19, 20 and 21.” (See Doc. 153 at. 14). In fact,

Plaintiff sought to reply to the Defendant’s Opposition statement uttering that

“Berkeley has not satisfied, and more worryingly, does not seem to have tried to

have satisfied its obligations as movant . . . whether presented under Rule 15, 19, 20


1
 A “strong inference of scienter,” is required to state a claim for securities fraud
under PSLRA. Securities Exchange Act of 1934 §§ 10, 21D, 15 U.S.C.A. §§ 78j(b),
78u-4; 17 C.F.R. § 240.10b-5(b).
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“and/or” 21” (Doc. 143, at 17). Finally, Defendant submits that in “in part IV’s

introduction and subpart (A), Berkeley attempts for the first-time to address Rule

16(b)(4)’s requirements.” (See Doc. 153 at. 15). Again, Plaintiff simply replied to

an issue invited on Defendant’s Opposition brief maintaining that “Berkeley has not

met its burden under Rule 16(b)(4)” (Doc. 143, at 11).

      Defendant’s Opposition explicitly discusses all the arguments that it now

identifies as “new” issues on its Motion to Strike. Again, courts in the Eleventh

Circuit have held that arguments are not deemed “new” so as to warrant the filing of

a surreply if they “simply respond to arguments raised in a response brief.” See

Chemence Med. Prods., Inc, 119 F. Supp. At 1382 (holding that because “both

arguments that Medline claims are new merely respond to arguments raised by

Medline in its response brief,” these arguments “are not new” and “[n]o surreply is

warranted.”); Schutz Container Sys., Inc., 2012 WL 1073153, at *1 (“In this case,

Defendants’ reply brief directly addresses arguments raised by Plaintiff in its

opposition to Defendants’ motions for summary judgment. Accordingly, a surreply

is not warranted”).

      Furthermore, Defendants submit that “Berkeley chose to use the Reply Memo

to largely rewrite its grounds for joining Gahan while locking Sionic into an

Opposition Brief to a motion that Berkeley had abandoned. Berkeley thus not only

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abused procedure, violating Georgia Rules of Professional Conduct 3.1, but also

unduly prejudiced Sionic” (See Doc. 153 at. 20) Plaintiff simply replied to the legal

theories raised in the Opposition brief – no prejudice may result from plain motion

practice. As evidenced by Defendant’s Exhibit A to its Motion to Strike, the

undersigned offered the professional deference of sharing the evidence to the Reply

Memo before the filing was submitted. As it related to the accusation of violating

State Bar Rules, District Courts make no rulings on issues regarding the State Bar of

Georgia Rules of Professional Conduct, as such violations are generally decided by

the State Bar. To the extent that it is proper to consider the State Bar rules in

Defendant’s Motion to Strike, the only provision of Georgia Rule of Professional

Conduct 3.3 which relates to Plaintiff's objection, concerns a lawyer’s duty to not

“knowingly make a false statement of material fact or law to a tribunal” Ga. Rules

of Prof. Conduct 3.3(a)(1). Here, both parties admittedly moved to add parties after

the deadline set forth in the Joint Preliminary Report, and the undersigned candidly

represented that he become in possession of new evidence after the February 21,

2021 deadline.

      Accordingly, as Defendant invited the purported “new” issues in its

Opposition, the responsive arguments raised in the Plaintiff’s Reply are not “new”

and a surreply is not warranted.

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       III. The Defendant’s Proposed Exclusion of the Reply is Impermissible.

       Defendant stands for the proposition that “even if the Court elects not to strike

Berkeley’s Reply Memo, at a minimum the Court should disregard and exclude it.”

( See Doc. 153 at. 20.) There is no legal basis to disregard Plaintiff’s Reply, as courts

“will decline to consider new arguments in reply briefs only if those arguments are

truly new.” See Williams v. Seacrest Invs., Inc., No. 2:12-cv-1919-KOB, 2015 WL

1383941, at *7 n.4 (N.D. Ala. Mar. 23, 2015) As discussed, when a movant's “new”

argument in a reply brief merely responds to arguments raised by the non-movant in

its response to the motion, as in this case, the argument is not truly “new” the court

may properly consider it. See First Specialty Ins. Corp. v. 633 Partners, Ltd., 300 F.

App'x 777, 777–78 (11th Cir. 2008)) (reply evidence submitted to respond to

arguments raised in opposition to motion to dismiss were properly considered by the

trial court).

       IV. A Motion to Strike is Not Proper Vehicle to Attack Evidence.

       Sionic uses its Motion to Strike to expand on arguments already presented in

its Opposition Brief. Such collateral attack of the Motion to Add circumvents the

requirement for leave to file a surreply. In S. River Watershed Alliance, Inc. v.

DeKalb Cnty., 484 F.Supp.3d 1353, 1362–63 (N.D. Ga. 2020) the Judge Grimberg

now presiding over the case sub judice, observed that “since Rule 12(f) only

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contemplates the striking of a pleading, this court routinely finds that a motion to

strike is not the appropriate vehicle for challenging the consideration of evidence.

Put another way, motions, briefs or memoranda, objections, or affidavits may not be

attacked by the motion to strike.” Id at *1361.

      Defendant relies on Long-Hall v. USA Ready Mix, Civil Action File No. 1:08-

CV-1546-CAP-AJB, 2010 WL 11496945, at *36 n.35 (N.D. Ga. Feb. 2, 2010), in

support of the proposition that courts have the authority to strike a party's brief

pursuant to its inherent powers if bad faith is found.      Plaintiff’s reply to the

arguments raised on Defendant’s opposition brief could not be construed as devoid

of merit or submitted in bad faith. Moreover, Defendant complains that “except for

exhibits A and E, all of Berkeley’s remaining New Evidence […] comes from

Enduring Hearts’ April 2021 [production]” implying that Plaintiff should have

included such evidence with the Motion to Add and not the Reply Brief. It is

undisputed that both parties allege to have discovered new evidence after February

21, 2021 deadline to amend and add parties pursuant to the Scheduling Order

adopting the parties’ Joint Preliminary Report and Discovery Plan (Doc. 69). The

timing considerations proposed by Defendant calculating whether Plaintiff came

into possession of the evidence in April or June 2021, are wholly immaterial, as the

main determination before the court is whether the parties have satisfied the Rule

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16(b) good cause standard to amend after the February 21, 2021 deadline. See

Broome v. Honaker. No. 406cv286 (S.D. Ga. Sept. 21, 2007) (applying Rule 16(b)

“good cause” standard before applying Rule 14(a) “leave of the court” standard).

      V. Plaintiff Has Established Gahan’s Section 10b-5 and 20(a) Liability

      Defendant manipulates the Motion to Strike to prematurely delve into the

Plaintiffs’ underlying claims against Gahan. A dispositive motion after joinder

would constitute the appropriate vehicle to challenge the security fraud claims

against him. At this stage, the inquiry is limited to Plaintiff’s Motion to Add

requiring Plaintiff under Rule 20(a)(2), to show a right to relief arising out of the

same transaction or occurrence and some question of law or fact common to all

persons seeking to be joined, as well as establishing that Gahan is a person who

should be joined if feasible under Rule 19(a). Plaintiff has satisfied this analysis.

Notwithstanding, Plaintiff proceeds to respond to Defendant’s allegations that

“nothing Berkeley submitted with its Initial Motion or Reply Memo comes close to

satisfying the pleading standard for control person liability as to Gahan. (See Doc.

153 at. 23). In fact, the present case is analogous to Lautenberg Foundation v.

Madoff, No. 09–816, 2009 WL 2928913, at *15 (D.N.J. Sept. 9, 2009). In that case,

Plaintiffs brought an action against Peter Madoff (“Madoff”), general counsel at

Bernard L. Madoff Investment Securities, LLC (“BMIS”), and brother of Bernard

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Madoff. According to the Complaint, various actions and inactions by Peter Madoff

render him liable for their loss under Sections 10(b) and 20(a) of the Exchange Act

and under the common-law tort theories of breach of fiduciary duty, aiding and

abetting breach of fiduciary duty, negligent misrepresentation and negligence.

Madoff moved to dismiss the Complaint in its entirety.

      The Complaint charged Peter Madoff with “making and/or acquiescing in the

making of affirmative misrepresentations” that fall into three categories: (1)

statements in BMIS promotional literature touting the company's “unblemished

record of value, fair-dealing and high ethical standards”; (2) information in reports

filed with the SEC misrepresenting BMIS's assets, income, cash flow and other

financial data; and (3) false and nonexistent transactions reported in account

statements provided by BMIS to investors. The Court denied Madoff’s motion to

dismiss as to the omissions-based Rule 10b–5(b) claims. As in this case, Madoff

attacked the omissions-based claim on the grounds that the Complaint has failed to

allege facts establishing that Madoff owed Plaintiffs a duty of disclosure. In rejecting

the argument, the Court observed that “Supreme Court has held that silence can give

rise to liability under Section 10(b) and Rule 10b–5 where the party who fails to

disclose information owes the other a fiduciary duty. Chiarella v. United States, 445

U.S. 222, 228, 100 S.Ct. 1108, 63 L.Ed.2d 348 (1980)”. Judge Chesler concluded

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that “reading the Complaint as a whole, and with the common sense Iqbal reminds

courts to employ, the allegations concerning Peter Madoff's responsibilities at

BMIS, his sophistication as general counsel and member or officer of various

securities organizations, and the ample list of unusual business practices and other

indicia of fraud at BMIS together set forth facts establishing circumstantial evidence

that Peter Madoff knew of some fraud or wrongdoing occurring at BMIS. Put

plainly, it alleges that there was material information that, though known by

Defendant, was not disclosed to Plaintiffs, who were misled by the silence.” Madoff

at *10. The facts in this case show that Gahan as shareholder, director and fund-

raiser was a controlling person of Sionic with Sionic and Herman while committing

predicate violations of Section 10(b) and Rule 10b–5.

                                  CONCLUSION

      Defendants have requested that this Court do something (filing a Sur reply)

under the Federal Rules of Civil Procedure which is disfavored for very important

reasons. To allow such sur-replies is only going to drag this Court into a position of

allowing multiple briefs with no end in sight. An outcome which Defendants’ seem

to want, however, Plaintiffs are simply trying to get to the facts in this case rather

than engaging in an over engaging motions practice that only serves to kill trees and

waste this Court’s time. As shown herein, the Defendants’ argument that they are

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prejudiced due to ‘new material” in the Reply Brief is wholly without merit. The

Case law is very clear that items cannot be considered “new material” if the

Defendants are in possession of such materials at the time and/or Defendants opened

the door. Defendants must answer in the affirmative to both criteria. Defendants

received the documentation attached to the Reply Brief in discovery and via email.

Additionally Defendants opened the door to such evidence in their Response Brief.

      Even assuming any of Defendants hold merit (which is doubtful at best), the

relief Defendants seek (striking the Reply) is incredibly overreaching and improper.

From Defendants perspective, this damning evidence included with the Reply Brief

is of such importance that they have no choice but to try and get it struck. However,

the evidence is what it is and speaks for itself. The fact that the evidence paints

Defendants in a bad light is attributable to their own actions and they cannot seek to

have this Court strike it to bail themselves out. The fact remains, Mr. Gahan was

just as complicit as Defendant Herman and Sionic Mobile in committing secruities

fraud and he must be added as a party in this matter and Plaintiff’s Reply Brief must

stand and be considered by this Court.



      Dated this 9th day of August, 2021.




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                                           GODWIN LAW GROUP


                                           /s/ Jason B. Godwin
                                           Jason B. Godwin
                                           Georgia Bar No. 142226



3985 Steve Reynolds Boulevard Building D
Norcross, Georgia 30093
Phone: 770-448-9925
Fax: 770-448-9958
jgodwin@godwinlawgroup.com




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             CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local Rule

5.1(C), using Times New Roman, 14-point font. I further certify I have electronically

filed on the date stated below, the foregoing PLAINTIFF’S RESPONSE IN

OPPOSITION TO SIONIC MOBILE CORPORATION’S MOTION TO STRIKE

OR IN THE ALTERNATIVE FOR LEAVE TO FILE SURREPLY with the Clerk

of Court using the CM/ECF system which will automatically send email notification

of such filing to attorneys of record, as follows:

                                   Simon Jenner
                    210 Interstate North Parkway, SE Suite 100
                              Atlanta, Georgia 30339

      Further served, although not attorneys of record:

                                 David J. Hungering
                             Hungeling Rubenfield Law
                             1718 Peachtree Street, N.W.
                               Atlanta, Georgia 30309

                                  Daniel C. Norris
                              The Ether Law Firm, LLC
                             1718 Peachtree Street, N.W.
                               Atlanta, Georgia 30309

      This August 9, 2021.
                                               /s/ Jason B. Godwin
                                               Jason B. Godwin
                                               Georgia Bar No. 142226



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